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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF ILLINOIS
                                 WESTERN DIVISION

    Owners Insurance Company,

                                          Plaintiff,
                                                               Case No. 3:22-cv-50396
                          V.
                                                               Honorable Michael F. Iasparro
    Step Seven LLC, et al,

                                       Defendants.



                             MEMORANDUM OPINION AND ORDER

          Plaintiff Owners Insurance Company brought this action for declaratory judgment to

determine its rights and obligations under an insurance policy it provided. 1 Liability is at issue, but

is not a question presented to this Court; Owners is only seeking a declaration that any recovery is

limited to the per-occurrence limit described in the insurance policy. The matter is presently before

the Court on Owners’ motion for summary judgment. For the reasons set forth herein, the motion

is denied.

                                           BACKGROUND

          As a preliminary matter, the Court sees it appropriate to outline the parties to this action.

The complainants in the underlying civil suits proceeding in state court (“Claimants”) include the

following parties appearing as defendants in this case: Alma Walker, individually and as

administrator of the estate of C.R.S.; Kathy Hall, as administrator of the estate of Carrie A. Hose;

T.S., a minor by her parent and next friend Alma Walker; E.S., a minor by his parent and next




1
 The parties have consented to the jurisdiction of a United States Magistrate Judge for all proceedings
pursuant to 28 U.S.C. § 636(c). See Dkt. 59.
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friend Alma Walker; Faith Walker, 2 as administrator of the estate of S.W.; and S.M.W., Jr., a

minor by his parent and next friend Faith Walker. Dkt. 13, ¶ 5. Dianah L. Young and Aaron P.

Young are the managers of Step Seven LLC, the company that owns the apartment building

located at 908 W. 3rd Street, Sterling, Illinois 61081 (“the Property”). 3 Id. at ¶¶ 4, 9. Steven

Coleman deliberately set two fires in the Property on June 1, 2020, leading to the deaths and

injuries which form the basis for the underlying civil suits in state court. Id. at ¶ 13; Dkt. 121, ¶

12. Coleman was convicted of multiple crimes in relation to his actions on June 1, 2020, and

received three life sentences. Dkt. 106, ¶ 7.

        In accordance with Local Rule 56.1, the parties submitted their statements of material

facts and responses to those statements. The purpose of this rule “is to have the litigants present

to the district court a clear, concise list of material facts that are central to the summary judgment

determination.” Curtis v. Costco Wholesale Corp., 807 F.3d 215, 219 (7th Cir. 2015). Therefore,

factual allegations “must be supported by citation to the specific evidentiary material” but

“should not contain legal argument.” LR 56.1(d)(2)-(4). Strict compliance with this rule is

expected as “courts are not required to ‘wade through improper denials and legal arguments in

search of a genuinely disputed fact.’” Curtis, 807 F.3d at 219 (citing Bordelon v. Chicago Sch.

Reform Bd., 233 F.3d 524, 529 (7th Cir. 2000)). The Court will not consider Owners’ legal

arguments poorly disguised as facts. Dkt. 106, ¶¶ 11-16. These paragraphs do not lend

themselves to the proper purpose of “identify[ing] for the Court the evidence supporting


2
  The parties have included Faith Walker as a defendant in her individual capacity in their Statements of
Material Facts. However, Faith Walker was not individually named in the amended complaint and thus is
only a party to these proceedings as the administrator of the estate of S.W. and as parent and next friend
of S.M.W., Jr. See Fed. R. Civ. P. 10(a).
3
  For purposes of this motion, the Court will follow Owners’ nomenclature in the following manner: (1)
Alma Walker, Kathy Hall, T.S., and E.S. will jointly be referred to as the Alma Walker defendants; (2)
S.W. and S.M.W., Jr. will jointly be referred to as the Faith Walker defendants; and (3) Dianah L. Young,
Aaron P. Young, and Step Seven will jointly be referred to as Step Seven.
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[Owners’ motion] in an organized manner,” but rather “as a forum for factual [and] legal

argument.” Malec v. Sanford, 191 F.R.D. 581, 585 (N.D. Ill. Mar. 7, 2000). Neither will the

Court consider additional facts put forth by the Faith Walker defendants that provide no citation

to the record. Dkt. 115-1, ¶¶ 1, 7.

        The pertinent facts, stated most favorably to the non-movants and with non-compliant

fact statements disregarded, are as follows. 4 For the period of April 17, 2020, through April 17,

2021, Owners provided Step Seven with an insurance policy (“the Policy”) that includes general

liability coverage for the Property. Dkt. 106, ¶ 1-2. The Policy provides coverage for “bodily

injury” at the Property. Id. at ¶ 2. The Policy includes a general aggregate liability limit of

$4,000,000 as well as a limit of $1,000,000 for each “occurrence.” Id. at ¶ 3. An “occurrence” is

defined by the Policy as “an accident, including continuous or repeated exposure to substantially

the same general harmful conditions.” Id. The Policy further explains that this occurrence limit

“fixes the most Owners will pay regardless of the number of (a) insureds, (b) claims made or

‘suits’ brought, or (c) persons or organizations making claims or bringing suits.” Id. at ¶ 4.

        On June 1, 2020, Steven Coleman deliberately set two fires in the Property – one

originating at the upper landing of the stairs and one on the stairs to the lower landing. Dkt. 106,

¶ 5; Dkt. 121, ¶¶ 12-13. These two fires were determined by investigators to have no cross




4
  Owners asserts that the Alma Walker and Faith Walker defendants have failed to answer its complaint
and thus have admitted Owners’ allegations by operation of law. Dkt. 105, at *1 n. 1. The Alma Walker
defendants filed an answer with court approval when this error was raised. Dkt. 112, 113. The Faith
Walker defendants did not. However, Owners took no action against the Faith Walker defendants until
this present motion was filed. Even if Owners had requested relief, such as moving for an entry of default,
the Court would not be inclined to do so as the Faith Walker defendants have actively participated in
these proceedings and responded to this present motion. See Wolf Lake Terminals, Inc. v. Mut. Marine
Ins. Co., 433 F.Supp.2d 933, 941-42 (N.D. Ind. Nov. 28, 2005). Additionally, a case such as this one
would not be benefited by an entry of default when co-defendant-injured parties remain to defend the
action. See Ill. Farmers Ins. Co. v. Stone, No. 1:14-cv-01714-TWP-DML, 2016 WL 2997564, at *3-4
(S.D. Ind. May 23, 2016).
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communication. Dkt. 121, ¶¶ 12, 14. As a result of these fires, 5 S.W., S.M.W., Jr., Alma Walker,

E.S., and T.S. were injured and Carrie A. Hose, C.R.S., and S.W. died. Dkt. 106, ¶ 5; Dkt. 115, ¶

5. These victims were all in the Property when the fires were set but were not all in a single unit.

Dkt. 116, ¶ 9.

        After completing an investigation, Owners was unable to determine how many smoke

detectors were functional at the Property. Dkt. 121, ¶ 10. Owners also has no knowledge of the

number of functional emergency and/or exit lights at the Property, nor does it have knowledge of

the number or functionality of any fire alarm systems at the Property. Id. at ¶ 11.

        Claimants filed civil lawsuits in the Fourteenth Judicial Circuit in Whiteside County,

Illinois, against Steven Coleman and Step Seven. Dkt. 106, ¶ 8. Claimants also filed claims

under the Policy for the death and injuries that resulted from the fires. Id. at ¶ 9. Owners

believes, in the event of liability, Claimants’ joint recovery is limited to the per-occurrence limit

of $1,000,000 and intervened in the state court proceedings to interplead this amount. Id. at ¶ 10.

Owners is now seeking a declaration from this Court that the Policy limits its liability to

$1,000,000 for all Claimants combined. See Dkt. 13.

                                     STANDARD OF REVIEW

        Summary judgment is proper “if the movant shows that there is no genuine dispute as to

any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a).

A genuine dispute of material fact exists if a reasonable jury could return a verdict for the

nonmovant; it does not require that the dispute be resolved conclusively in favor of the nonmovant.

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248-49 (1986).




5
  Appreciating the concern raised by the Alma Walker defendants in their response, the Court notes that
this statement does not preclude the possibility of other contributing factors. See Dkt. 120, ¶ 5.
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        When, as in this case, the party moving for summary judgment also bears the burden of

proof, the movant has a higher burden at the summary judgment stage in that “it must lay out the

elements of the claim, cite the facts which it believes satisfies these elements, and demonstrate

why the record is so one-sided as to rule out the prospect of a finding in favor of the non-movant

on the claim.” Hotel 71 Mezz Lender LLC v. Nat’l Ret. Fund, 778 F.3d 593, 601 (7th Cir. 2015).

Thus, a movant who bears the burden of proof must prevail as a matter of law based on the record

before the court.

                                            DISCUSSION

        All parties seemingly agree that Illinois law controls this case and, specifically,

interpretation of the Policy. “Under Illinois law, the construction of a provision of an insurance

policy is a question of law, and the court’s goal is to determine the intent of the contracting parties.”

Sokol and Co. v. Atl. Mut. Ins. Co., 430 F.3d 417, 420 (7th Cir. 2005). The insured first bears the

burden of establishing that a “claim falls within the coverage of an insurance policy.” Addison Ins.

Co. v. Fay, 232 Ill.2d 446, 905 N.E.2d 747, 752 (2009). “Once the insured has demonstrated

coverage, the burden then shifts to the insurer to prove that a limitation or exclusion applies.” Id.

        Owners does not contest that the claims at issue fall within the coverage of the Policy.

Rather, it simply seeks to limit any recovery to the per-occurrence limit of $1,000,000. The rule

that the insurer has the burden of proving a limitation is well established in Illinois and applies

here. See Fid. & Cas. Co. v. Sittig, 181 Ill. 111, 54 N.E. 903, 904 (1899) (explaining that once the

insured proved coverage, the burden “devolved on the [insurer] to prove . . . the exception in the

policy relied on to avoid payment”); Acuity v. M/I Homes of Chicago, LLC, 2023 IL 129087, 234

N.E.3d 97, 105 (2023) (“Generally, the insured bears the burden of proving the claim is covered

under the initial grant of coverage, and the insurer bears the burden of proving an exclusion



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applies.”). Owners contends that this motion presents the Court with only two options: “(a) the

Fire Event is a single ‘occurrence,’ . . . or (b) the Fire Event constitutes ‘at least’ 102

‘occurrences.’” Dkt. 105, at *2.6 Owners is right that there are only two options. However, it is

wrong about what those two options are. To be entitled to the declaration Owners is seeking here,

it must prove that the deaths and injuries underlying this suit constitute one occurrence as that term

is defined in the Policy. Thus, the Court is tasked with determining whether, at this stage of the

proceedings, Owners has either: (a) established that there is no genuine issue of material fact such

that the Court can determine, as a matter of law, that there was only one occurrence, or (b) it has

not. 7

         As outlined above, the Policy defines occurrence as “an accident, including continuous or

repeated exposure to substantially the same general harmful conditions.” Owners describes this as

an “unambiguous definition.” Dkt. 105, at *2. The Alma Walker defendants, however, argue that

the Policy is unclear “as to what constitutes a separate occurrence when an incident involves

multiple deaths and/or injuries,” making the language of the Policy ambiguous. Dkt. 119, at *5.

         When the language in an insurance policy is unambiguous, it “is given its ‘plain, ordinary,

and popular meaning.’” Sokol, 430 F.3d at 420 (quoting Outboard Marine Corp. v. Liberty Mut.

Ins. Co., 154 Ill.2d 90, 607 N.E.2d 1204, 1212 (1992)). “Whether an ambiguity exists turns on

whether the policy language is subject to more than one reasonable interpretation.” Hobbs v.

Hartford Ins. Co. of the Midwest, 214 Ill.2d 11, 823 N.E.2d 561, 564 (2005) (emphasis added). An

ambiguous clause “must be construed in favor of the insured” but this “rule comes into play only



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  For the sake of clarity, all citations to a specific page of a docketed document are based on the CM/ECF
stamped page numbers irrespective of the pagination provided by the parties.
7
  With this burden properly placed on Owners, the Court sees no occasion to address Owners’ arguments
about Defendants’ “extreme” number of occurrences or Defendants’ “novel legal theories” as they simply
have no bearing on the Court’s analysis of whether Owners has established only one occurrence.
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when there is an ambiguity.” Menke v. Country Mut. Ins. Co, 78 Ill.2d 420, 401 N.E.2d 539, 541

(1980).

          The definition at issue is not ambiguous. “Nothing in [this] definition[] is materially

different from the definitions” previously analyzed by Illinois appellate courts, and it is “no more

ambiguous in this case than they were in those cases.” Nicor, Inc. v. Associated Elec. and Gas Ins.

Servs. Ltd., 223 Ill.2d 407, 860 N.E.2d 280, 296 (2006). The Alma Walker defendants cite no

authority to support their contention that the Policy’s lack of a definition for a separate occurrence

creates an ambiguity. In fact, failure to define a term “does not render it ambiguous. . . Rather,

ambiguity exists only if the term is susceptible to more than one reasonable interpretation.” Id. at

286. Defendants have not outlined, nor does the Court find, an alternative reasonable interpretation

and, thus, the Policy is unambiguous.

          However, the analysis does not stop there as “the terms of the insurance policy are not

always sufficient, standing alone, to permit a definitive determination as to whether a particular

case involves one occurrence or many.” Id. at 287. This definition then must be given its “plain

and ordinary meaning” and applied to the facts of the case. Id. at 286. It is Owners’ burden to

prove that the underlying claims are all derived from one occurrence. To be abundantly clear, it is

not Defendants’ burden to establish multiple, or even more than one, occurrences; it is Owners’

burden to establish that there is no genuine issue of material fact that the injuries and claims arising

from the events of June 1, 2020, constitute only one occurrence as that term is defined in the Policy.

Owners has failed to meet that burden at this juncture.

    I.       Cause Test

          Illinois courts have declined to determine the number of occurrences by looking only at the

number of injuries or claims but instead look at the number of causes. See Ill. Nat. Ins. Co. v.


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Szczepkowicz, 185 Ill.App.3d 1091, 542 N.E.2d 90, 92 (1989). Multiple events can create an

“uninterrupted continuum” that leads to injuries, but these events are not multiple occurrences if

they can “be attributed to a common cause.” Auto-Owners Ins. Co. v. Munroe, 614 F.3d 322, 325

(7th Cir. 2010). Thus, separate occurrences arise when a “loss is the result of a separate and

intervening human act, whether negligent or intentional, or each act increased the insured’s

exposure to liability.” Nicor, 860 N.E.2d at 294.

       Owners contends that its insured Step Seven’s alleged negligence in maintaining the

Property created an uninterrupted continuum that constituted only one occurrence. Dkt. 105, at *3-

7. To support this contention, Owners heavily relies on the Seventh Circuit holding that “‘no

Illinois court’ has ever found multiple occurrences ‘merely because several acts of negligence

combined to produce a single result.’” Id. at *3 (quoting Munroe, 614 F.3d at 326). Owners

repeated this quote a total of seven times throughout its briefing. The full context of the Munroe

holding does not support Owners’ position. What the Munroe court actually said was that “no

Illinois court has held that a single claim or injury can give rise to multiple occurrences merely

because several acts of negligence combined to produce a single result.” 614 F.3d at 326 (emphasis

added). Not once in its seven citations did Owners include the “single claim or injury” clause.

Owners could have “accurately describe[d] the law and then call[ed] for” its expansion but instead

chose to simply cut out the critical aspect of the Munroe court’s decision that distinguishes the

Munroe case from the facts in dispute here. Thornton v. Wahl, 787 F.2d 1151, 1154 (7th Cir. 1986).

This gamesmanship not only undermines Owner’s credibility; it also sinks its motion.

       Unlike the precedent Owners relies upon, causation is heavily disputed here. Claimants all

contend that Step Seven’s negligent property maintenance, in the form of failure to maintain

working smoke detectors or fire alarms, for example, was the proximate or contributing cause of



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their deaths or injuries. See, e.g., Dkt. 115-1, ¶¶ 2-6, 8. Owners is asking this Court to rule as a

matter of law that the “Fire Event,” as it has defined that term, constitutes a single occurrence

under the Policy.8 But that is the factual issue at the heart of the dispute here and in the underlying

state actions. “Under the cause theory, the number of occurrences is determined according to the

number of ‘separate and intervening human acts’ giving rise to the claims under the policy.”

Munroe, 614 F.3d at 325 (quoting Nicor, 860 N.E.2d at 294). The parties here disagree on whether

there were “separate and intervening human acts” which give rise to the claims under the Policy.

As such, there are genuine issues of material fact that a trier of fact will have to decide (perhaps,

in the first instance, in the underlying state court lawsuits).

        In making its uninterrupted continuum argument, Owners also relies on Ware v. First

Specialty Ins. Corp., 2013 IL App (1st) 113340, 983 N.E.2d 1115 (2013). In Ware, the plaintiffs

were standing on all three floors of a porch when the third floor of the porch collapsed onto the

second floor which then collapsed onto the first floor. 983 N.E.2d at 1117. The court found only

one occurrence as there was “no dispute that the collapse was the sole and proximate cause of all

plaintiffs’ injuries, nor [was] there any allegation that any separate or intervening acts or

circumstances contributed to their injuries.” Id. at 1121.

        Here, however, there is a dispute as to whether the fire(s) were the sole and proximate

cause of all the injuries, as there are disputed allegations of separate, intervening acts. Claimants

continue to maintain that their injuries were not caused by the fire(s) alone and that there were two



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  In its Amended Complaint, Owners alleges: “On June 1, 2020, Coleman deliberately set fire to the
Property, causing the deaths of Carrie A. Hose, C.R.S., and S.W., and injuries to S.W., Alma Walker,
E.S., and T.S. Dkt. 13, ¶ 13. Thereafter, including in its summary judgment briefing, Owners has referred
to Coleman’s actions as the “Fire Event.” Thus, there also appears to be a dispute as to the number (and
materiality) of fires Coleman set, where and when they were set, whether they “cross communicated,” and
how they spread. Compare Dkt. 121, ¶¶ 12-14, and Dkt. 116 ¶¶ 11-13, with Dkt. 127, ¶¶ 12-14, and Dkt.
129, ¶¶ 11-13.
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separate fires set. The Alma Walker defendants point out that the plaintiffs in Ware did not

similarly dispute the sole cause of their injuries as Claimants do here. Importantly, “[t]he Ware

court never reached the issue of whether multiple negligent acts and/or omissions causing multiple

injuries and deaths would have constituted more than one occurrence.” Dkt. 119, at *8; see Ware,

983 N.E.2d at 1121-22 (“There is no dispute that the collapse was the sole and proximate cause of

all plaintiffs’ injuries, nor is there any allegation that any separate or intervening acts or

circumstances contributed to their injuries.” Thus, “[T]here can be no question that, under the

cause theory, the collapse constituted only one occurrence under the policy.”).

       To counter the Alma Walker defendants’ argument, Owners first argues that the lack of

cases directly on point “is not helpful to Defendants.” Dkt. 126, at *9. Again, Owners has the

burden of proving a single occurrence; Defendants do not have to definitively show more than one.

See Hotel 71, 778 F.3d at 601; Johnson v. Gudmundsson, 35 F.3d 1104, 1112 (7th Cir. 1994)

(explaining that even an unanswered motion for summary judgment will be denied if the motion

fails to “demonstrate[] that there is no genuine issue of material fact and that the movant is entitled

to judgment as a matter of law”) (emphasis in original). Thus, even if Defendants cite no case law

applying their “exact theory,” Owners still must show that its theory does entitle it to summary

judgment.

       In a bit of linguistic yoga, Owners further cites to the Ware opinion and argues that the

claimants there did not agree that the collapse was the sole cause of their injuries; they “stipulated”

to it. Dkt. 126, at *9-10; but compare Agree, Merriam-Webster, https://www.merriam-

webster.com/dictionary/agree [https://perma.cc/7VJJ-9Z5E] (last visited July 16, 2025) (“to

accept or concede something”), with Stipulate, Merriam-Webster, https://www.merriam-

webster.com/dictionary/stipulate [https://perma.cc/AV8E-37U8] (last visited July 16, 2025) (“to



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make an agreement or covenant to do or forbear something”). Not surprisingly, Owners cites no

authority that supports its asserted distinction between an agreed fact and a stipulated fact. As the

Seventh Circuit has explained, “[a] stipulation is a contract between two parties to agree that a

certain fact is true.” U.S. v. Barnes, 602 F.3d 790, 796 (7th Cir. 2010) (emphasis added). The point

here is that there was no disagreement as to the cause of the porch collapse in Ware, whereas here,

there is a genuine and material disagreement as to causation. As discussed above, Claimants have

asserted multiple acts of negligence on the part of Step Seven that they believe to be separate and

intervening. Perhaps Owners will prevail on its sole proximate cause theory, but Owners has not

yet established this theory as a matter of law.

         Throughout its motion, Owners continually refers to the alleged negligent acts here as an

“uninterrupted continuum.” Even assuming Owners had shown that Illinois’ application of the

cause test precludes a finding of multiple occurrences in an uninterrupted continuum of negligent

acts, Owners fails to properly address the Faith Walker defendants’ argument that this

“continuum” was in fact interrupted by negligent acts that “increased the insured’s exposure to

liability.” Dkt. 114, at *3 (citing Addison, 905 N.E.2d at 754).

   II.      Time and space test

         Since its formal adoption of the “cause” test in Nicor, the Illinois Supreme Court has

recognized that the cause test left open “situations where a continuous negligent omission results

in insurable injuries” with no limit. Addison, 905 N.E.2d at 755. To remedy this “limitless bundling

of injuries into a single occurrence,” the court adopted the time and space test to be applied

“[w]here negligence is the result of an ongoing omission rather than separate affirmative acts.” Id.

at 756. “Under this test, if cause and result are simultaneous or so closely linked in time and space

as to be considered by the average person as one event, then the injuries will be deemed the result


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of one occurrence.” Id. (citation modified). Thus, even assuming that Owners had shown one

occurrence under the cause test, it also has the burden of showing the close link between the cause

and result.

       Owners first argues that “it is unclear whether an Illinois court would find this test

appropriate at all . . . since all injuries occurred” during the fire(s). Dkt. 105, at *10. In support,

Owners cites three cases where courts refused to apply the time and space test. None of these cited

cases are convincing. In two of the cases relied on by Owners, the courts held that the time and

space test did not apply because the facts did not involve an ongoing omission. Ware, 983 N.E.2d

at 1122 (“[U]nlike Addison, [this] is not a case in which multiple injuries were sustained over time

due to an ongoing negligent omission.”); Certain Underwriters at Lloyd’s, London v. Chicago

Bridge & Iron Co., 406 S.W.3d 326, 336 (Tex. App. 2013) (“Because this case does not involve

an ongoing omission, we need not apply the ‘time and space test’”). By contrast, this case does

involve allegations of an ongoing omission by the insured. The last of the three cases cited by

Owners involved the application of Missouri law, a jurisdiction that has not adopted the time and

space test. Fellowship of Christian Athletes v. AXIS Ins. Co., 758 F.3d 982, 985 (8th Cir. 2014).

       In furtherance of its argument that the time and space test is inapplicable here, Owners

asserts that “Illinois courts only invoke this variation for cases in which injuries occurred weeks

and/or months apart.” Dkt. 126, at *20 (internal citation omitted) (emphasis added). But Addison,

the case in which the Illinois Supreme Court recognized the time and space test, involved the

drowning of two boys that “could have been seconds or minutes apart.” 905 N.E.2d at 756. The

boys had left their home on April 30, 1997, and their bodies were found on May 3, 1997, meaning

the most time that could have passed between their injuries was four days, not the weeks or months

Owners alleges is required for this test. Id. at 749. Owners has not established, nor has the Court’s



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research revealed, any minimum amount of time between injuries required for application of the

time and space test.

       Nonetheless, Owners argues that an application of this time and space test still leads to the

conclusion that there was only one occurrence that caused all of Claimants’ injuries. Dkt. 105, at

*10. As Owners puts it, this is because the alleged cause – inadequate smoke detectors – “occurred

simultaneously and at the exact same location” as the result – the arsons and Claimants’ injuries.

Id. To support this argument, Owners turns to the now familiar case of the porch collapse in Ware

and a New Jersey case from which Addison adopted the time and space test.

       As already discussed, Ware involved a porch collapse that started on the third floor and

ultimately led to injury for the people standing on all three levels. Causation was not disputed, and

the court determined that this constituted one occurrence. The Ware court did not apply the time

and space test but said that if it had, it would have reached the same result. 983 N.E.2d at 1123.

This was because “the trial court [] was presented with more than sufficient evidence to conclude

that the cause of plaintiffs’ injuries was so closely linked in time and space as to be considered by

the average person as one event.” Id.

       The New Jersey case involved two boys playing near a pool after having entered through

a dilapidated fence. Doria v. Ins. Co. of N. Am., 210 N.J.Super. 67, 509 A.2d 220, 221 (App. Div.

1986). One boy fell in and the other immediately attempted to help but fell in himself. Id. The New

Jersey court held that these events constituted one occurrence because the boys went through the

fence together, they became exposed to the same danger at the same time, there was no change in

circumstances “during the intervening seconds between” the boys’ falls, and the second boy’s fall

was a result of his attempt to save the first boy. Id. at 224-25.




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        The Court finds Addison more instructive than Ware and Doria for a number of reasons.

First, it was decided based on a fully developed trial record, not at summary judgment. Addison,

905 N.E.2d at 749-50. Second, the insured’s liability, stemming from two boys who perished in

an excavation pit on his property, arose from the insured’s negligent failure to properly secure and

control his property, and the insured (like Step Seven here) committed no intervening act between

the injuries of each boy. Id. at 754-55. Third, as the court stated, “[i]n accepting a per-occurrence

limit, [the insured] could not have intended to expose himself to greater liability by allowing

multiple injuries, sustained over an open-ended time period, to be subject to a single, per-

occurrence limit.” Id. at 755. “As a result, in situations where a continuous negligent omission

results in insurable injuries, some limiting principle must be applied.” Id.

        That limiting principle is the “time and space” test. Id. The insured’s negligence in Addison

consisted of an omission, the failure to maintain the property (similar to what has been alleged –

but denied – here). Id. at 756. The court said “[w]here negligence is the result of an ongoing

omission rather than separate affirmative acts, a time and space test effectively limits what would

otherwise be a limitless bundling of injuries into a single occurrence.” Id. “Under that test, ‘if cause

and result are simultaneous or so closely linked in time and space as to be considered by the

average person as one event,’ then the injuries will be deemed the result of one occurrence” Id.

(quoting Doria, 509 A.2d at 224). The time and space analysis, however, must be made on a case-

by-case basis. Id.

        Perhaps most instructive from Addison is the result. Important to the Illinois Supreme

Court’s analysis was the fact that the two victim boys did not become trapped in the excavation

pit simultaneously. As such, the court determined:

        There was little evidence to support the insurer’s claim that the injuries suffered by
        the two boys were the result of a single occurrence. The police investigators could

                                                  14
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       not determine how closely in time the boys became trapped, suggesting it could
       have been seconds or minutes apart, but acknowledging there was no way to know.
       Nor could the medical experts give a time of death with certainty, or indicate how
       closely in time the two boys had died. Any opinions on these issues of timing would
       be inappropriately speculative.

Id. (citation modified). Based on such substantial uncertainty (which itself was based on a fully

developed trial record), the court was persuaded that the insurer could not “meet its burden of

proving that the two boys’ injuries were so closely linked in time and space as to be considered

one event.” Id. at 756-57. And because the insurer could not meet its burden, the court held that

the injuries to the two boys constituted two occurrences, and thus, the “defendants’ claims [were]

subject to the general aggregate limit rather than the lower per-occurrence limit.” Id. at 757.

       Perhaps Owners will prevail if a finder of fact, in determining liability (and specifically

causation), finds that Steven Coleman’s arsonist behavior was the sole proximate cause of the

deaths and injuries at issue here, in which case Step Seven may not be liable at all. Or perhaps

Owners’ single occurrence argument will prevail if a finder of fact determines that those deaths

and injuries were so closely linked in time and space as to be considered one event. Or perhaps the

fully developed record will be less conclusive, with remaining substantial uncertainty as to the

sequence or timing of the deaths and injuries at issue (in which case Owners may not be able to

carry its burden of proving that all deaths and injuries were so closely linked in time and space as

to be considered one event). But the critical facts necessary for any such determination remain

disputed, precluding summary judgment on this record.

                                         CONCLUSION

       For the foregoing reasons, Owners’ motion for summary judgment is denied.



Entered: July 18, 2025                         By: _________________________
                                                   Michael F. Iasparro
                                                   United States Magistrate Judge

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